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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

WILLIAM NEGRON,

       Plaintiff,
vs.                                                   Case No.: 8:16-cv-02231-CEH-MAP

SELENE FINANCE LP and
CITIMORTGAGE, INC.,

      Defendants.
____________________________/

                        JOINT STIPULATION AND MOTION FOR
                        ORDER OF DISMISSALWITH PREJUDICE

       Plaintiff, William Negron (“Plaintiff”), and Defendants, CitiMortgage, Inc. (“CMI”), and

Selene Finance LP (“Selene”) (CMI and Selene collectively are the “Defendants”) hereby

stipulate and move, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), to the dismissal of this action

against Defendants with prejudice, and in support thereof, state as follows:

       1.      The dispute between Plaintiff and Defendants has been amicably resolved

pursuant to a settlement agreement.

       2.      Plaintiff and Defendants agree that they shall each bear their own attorneys’ fees

and costs.

       3.      The Parties agree to entry of an Order of Dismissal, the form of which is attached

hereto and incorporated herein as Exhibit “A.”

       4.      There are no other parties to this matter, and therefore no party will be prejudiced

by the granting of the attached Order of Dismissal.

       WHEREFORE, the Parties to this stipulation request that this Honorable Court dismiss

the above action pursuant to the terms of the above Joint Stipulation and Motion.
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Dated this 2nd day of October, 2017



/s/ William Negron                    /s/ Jacqueline Simms-Petredis
William Negron, Pro Se                Jacqueline Simms-Petredis, Esq.
15476 NW 77 C #400                    FL Bar # 0906751
Miami Lakes, FL 33016                 Email: jsimms-petredis@burr.com;
                                      Secondary email: zhasbini@burr.com;
                                      sforero@burr.com
                                      Burr & Forman LLP
                                      201 North Franklin Street, Suite 3200
                                      Tampa, Florida 33602
                                      Tel: (813) 221-2626
                                      Fax: (813) 357-3534
                                      Attorney for Selene Finance LP


/s/Louis M. Ursini, III
Louis M. Ursini, III, Esq.
Florida Bar No.: 00355940
Email: louis.ursini@arlaw.com
Email: lisa.stallard@arlaw.com
LEAD ATTORNEY
ADAMS AND REESE LLP
101 E. Kennedy Blvd., Ste. 4000
Tampa, FL 33602
Telephone: 813-402-2880
Fax: 813-402-2887
Counsel for CitiMortgage, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2017, a copy of the foregoing document is being

served this day to all parties as indicated below:

William Negron                                       Jacqueline Simms-Petredis
15476 NW 77 CT. #400                                 Burr & Forman, LLP
Miami Lakes, FL 33016                                201 N Franklin St Ste 3200
Pro Se Plaintiff                                     Tampa, FL 33602
Via U.S. Mail                                        813/221-2626
                                                     Fax: 813/357-3534
                                                     Email: jsimms-petredis@burr.com
                                                     Via Electronic Mail



                                                     /s/ Louis M. Ursini
                                                     Louis M. Ursini, III, Esq.
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                  Exhibit “A”
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

WILLIAM NEGRON,

        Plaintiff,
vs.                                                  Case No.: 8:16-cv-02231-CEH-MAP

SELENE FINANCE LP and
CITIMORTGAGE, INC.,

      Defendants.
______________________________________/

                        ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE came before the Court on the Joint Stipulation and Motion for Order of

Dismissal with Prejudice, executed by Plaintiff, William Negron (“Plaintiff”), and Defendants,

CitiMortgage, Inc. (“CMI”), and Selene Finance LP (“Selene”) (CMI and Selene collectively are

the “Defendants”). The Court, having reviewed the motion, the pleadings, and being otherwise

duly advised of the premises, it is hereby ORDERED AND ADJUDGED:

        1.      This Cause is dismissed as to Plaintiff’s claims against Defendants, with
                prejudice.

        2.      The Plaintiff and Defendants shall each bear their own attorneys’ fees and costs.


        DONE AND ORDERED in Tampa, Florida on this ____ day of _________________,
2017.


                                                     Honorable Charlene Edwards Honeywell
                                                     United States District Judge
Conformed copies to:
William Negron, Pro Se
Louis M. Ursini, III, Esq.
Jacqueline Simms-Petredis, Esq.
